                                       In The

                                 Court of Appeals

                     Ninth District of Texas at Beaumont

                               ________________

                               NO. 09-21-00384-CV
                               ________________

              EBER FLORES AND JAIME FLORES, Appellants

                                          V.

                            MARIA OCHOA, Appellee

________________________________________________________________________

                    On Appeal from the 457th District Court
                         Montgomery County, Texas
                       Trial Cause No. 19-04-04563-CV
________________________________________________________________________

                           MEMORANDUM OPINION

      Eber Flores and Jaime Flores (the Floreses or Appellants) challenge the trial

court’s judgment awarding Maria Ochoa past medical expenses following a car

accident between Eber Flores and Maria Ochoa.1 On appeal, the Floreses do not




      1
         Jaime Flores is Eber Flores’s brother and Jaime gave Eber permission to
drive Jaime’s vehicle on the day of the accident. Eber did not have a driver’s license,
and Jaime knew Eber did not have a driver’s license. A jury found Eber and Jaime
each 50% responsible for causing or contributing to Ochoa’s injuries.
                                          1
dispute their liability in causing the car accident, but dispute whether Ochoa’s

medical damages and expenses were caused by the car accident. In three issues, the

Floreses argue that the trial court erred in allowing causation evidence to be

introduced by experts not properly disclosed in compliance with Texas Rule of Civil

Procedure 194.2(f)(3), that absent the disputed testimony, the evidence is legally

insufficient to support the damages awarded for past medical expenses, and finally

that the trial court erred in allowing Ochoa to recover her litigation expenses as

taxable court costs. 2 Because both lay and expert medical evidence introduced at

trial was sufficient to prove causation under these facts, we affirm that part of the

trial court’s judgment, but we reverse and remand on the issue of taxable costs.

                                    I. Background

      Due to the limited scope of the issues on appeal, we address only the

background facts necessary to resolve Appellants’ issues. In March 2019, Eber

Flores was driving his brother Jaime Flores’s vehicle when he collided with Ochoa.

Maria Ochoa

      Ochoa described her health before the car accident as “normal[,]” testifying

that although she is diabetic and has hypertension, she did not have “pains.” Ochoa

stated that about a decade prior, she had a slip and fall accident at a hospital, but she


      2
       This lawsuit was filed March 29, 2019. This rule was amended in January
2021 and again in September 2023. Section 197.2(f) was removed in subsequent
amendments. See Tex. R. Civ. P. § 194.2; see Tex. R. Civ. P. § 195.5(a)(3).
                                       2
did not injure her back, only her “side.” According to Ochoa, she received therapy

for the slip and fall accident. Ochoa testified that her response to interrogatories

stating she injured her back in the slip and fall accident was incorrect.

      Ochoa testified that immediately after the accident with Eber Flores, she

began to experience pain in her back, leg, arm, and shoulder. After leaving the

accident scene, she felt “bad[,]” prompting her to take painkillers and blood pressure

medicine that day. Ochoa did not seek treatment for her pain the next day, but she

did stay at her son’s home for a week, stating she could not stay longer because of

pain in her knee and back. On March 27, Ochoa sought medical attention at North

Houston Pain and Spine. At that time, Ochoa reported that she had pain in her arm,

leg, neck, and shoulders. She received X-Rays, therapy, hot patches, and treatment

on her knee. A week later, Ochoa went to another facility where she complained of

headaches, neck, back, shoulder, elbow, and knee pain. Here, Ochoa received pain

medication and was sent to get MRIs. According to Ochoa, based on the results from

her MRI, she was told that she needed “a lot of therapy[,]” and that she had “lesions,

[and] some injuries[.]” Ochoa continued her therapy at North Houston until June,

when she reported a pain level of “4 out of 10[]” at her final visit. North Houston

then found a place in Edinburg where Ochoa could continue her therapy. During

cross-examination, Ochoa disputed North Houston’s patient notes that stated Ochoa




                                           3
was “released from care at this time and will continue with home therapy regimen[,]”

stating instead that she was “transferred to Edinburg[]” and not released from care.

      In Edinburg, Ochoa received treatment at Patterson Chiropractic. At

Patterson, Ochoa received therapy and a series of exercises, and was referred to a

pain management clinic, called Texas Pain Clinic. At Texas Pain Clinic, Ochoa

testified that she complained of a pain level of “7 to 8 out of 10” in her neck and she

received a steroid injection in her neck to help the pain. Ochoa stated that the steroid

injection reduced the pain, but it did not completely resolve it. Ochoa was then

prescribed pain medication. Ochoa testified that she then went to Mexico to see a

“traumatologist” because she could not afford to keep seeing her doctor in the United

States. Ochoa remained in Mexico for fifteen days, receiving therapy.

      Ochoa testified that she still takes pain medication. She still experiences

headaches, back, neck, knee, and shoulder pain. According to Ochoa, she has

experienced reduced activity since the wreck, specifically, she cannot exercise, walk

“a lot[,]” or pick up heavy objects. At the time of the accident, she was working as

her brother’s caregiver in Spring, a job she feels she can no longer do. Ochoa testified

that she cannot sleep and does not want to drive, due to her fear of driving. Ochoa

acknowledged that she has not been placed on any restrictions from a doctor. Ochoa

testified as to her medical bills and associated costs for each service she received.




                                           4
Dr. Timothy Runnels

      Doctor Timothy Runnels described his educational background as a

chiropractor and stated that he currently works at North Houston Spine &amp; Sports

Medicine, a facility he owns and runs. Runnels treated Ochoa at North Houston in

2019. He stated that Ochoa arrived at North Houston in late March 2019,

complaining of headaches and pain in her neck, upper back, right shoulder, right

elbow and right knee. Ochoa told Runnels that she had been in a car accident on

March 8, 2019. Runnels performed an examination on Ochoa and noted the findings

below:

      [W]hen we did cervical compression tests, we had increased radiating
      pain to the right shoulder that extended down to the right hand. When
      we did the shoulder depressor orthopedic test, it was positive on the
      right, which also caused increased radiating pain to the right hand area.
      In regards to the lumbar spine, when we did the lumbar orthopedic test,
      we did Lasegue’s, which is otherwise known as straight-leg raise. We
      had a positive on the right, which caused increase in low back pain, and
      again right-sided increase in radiating pain that went past the knee. And
      let’s see. In regards to the right shoulder, we had a number of positives,
      including we had a Yergason’s on the right was positive, we had
      anterior apprehension test on the right, and right bicipital instability. In
      regards to the knee, we had a positive as far as Apley’s compression,
      we had a positive as far as knee diffusion or swelling, and patella
      apprehension on that right side.

      Based on these findings, he recommended a course of care that would require

Ochoa receiving treatment at North Houston three times a week for six weeks,

including “adjustments … stretching and electric muscle stimulation.” Runnels

continued treating Ochoa until June 2019, stating that her pain was not gone, but
                                           5
“certainly improved[.]” Runnels also sent Ochoa to get an MRI, explaining that he

sent Ochoa for a medical consultation and both he and the medical doctor

recommended Ochoa get an MRI. The MRIs on her cervical and lumbar spine

revealed the following:

      Okay. I’m turning to the cervical MRI report, and the radiologist found
      that she had multiple levels of disc herniation, in other words, disc
      injuries into the -- at multiple levels of the cervical spine. At C5-6, she
      had a two-millimeter disc herniation and also we saw the herniation at
      C6-C7. Also at C3-4, she had an annular tear, which is significant
      because it is, it points to a new or acute injury such as a recent car
      accident.

      ...

      All right. Lumbar MRI, we had -- what is it -- three levels where she
      had disc herniations, at L3-4, at L4-5, and L5-S1. And these were
      between one-millimeter and two-millimeter disc injuries. And once
      again here, we’re seeing that she had some -- especially between L-4
      and 5, seeing some -- what is it -- pressure on the thecal sac, which is
      more concerning in regards to it being more of an acute process.

      At the end of Ochoa’s treatment, Runnels observed that she had improved

post-treatment with her range of motion, but noted the prognosis remained

“guarded.” He released her from treatment for her right knee and right shoulder. He

recommended a referral to a pain management clinic to address the disc injures in

her spine. Runnels opined the accident on March 8th caused Ochoa pain, and “that

her injuries are consistent with people that have had – our other patients that we’ve,

again, treated over the last so many years, it’s consistent with people that have been

in a similar collision to what she described.” During cross-examination, Runnels
                                          6
disagreed that Ochoa’s diagnosis was strains and sprains, or that it was related to

degenerative changes. While he agreed that Ochoa had some of these conditions,

including sprains and strains in her shoulder and knee along with some degenerative

changes associated with aging, that was not her primary diagnosis for her cervical

and lumbar spine. Runnels also testified about the total charges for his services and

that the treatments were reasonable in the field of chiropractic and were necessary

to treat Ochoa. The medical and billing records were admitted as evidence.

Dr. Jorge Saenz

      Doctor Jorge Saenz testified that he is a pain management doctor and board-

certified interventional/diagnostic radiologist. Saenz detailed his educational and

professional background and stated that he is employed at Texas Pain Clinic. Saenz

first examined Ochoa in July 2019. At her first visit, Ochoa told Saenz that she had

been in a car accident in March 2019, had received treatment by a chiropractor, but

was referred to Saenz because she was still experiencing pain. Saenz examined

Ochoa and found the following conditions:

      We examined her neck, which showed a lot of pain when palpating the
      posterior aspect of the neck. There was a lot of spasm in her muscles
      and there was limited flexion and extension on her neck. Her lumbar
      exam demonstrated that she had straightening of her lumbar curvature,
      which is loss of lordosis, there was spasm in her musculature, and also
      point tenderness over the posterior aspect of the lumbar spine. The
      patient also showed that she [had] limited range of motion with flexion
      and extension, and she had positive straight-leg raise exams, which
      typically those are exams where you raise the leg and it elicits a
      shooting pain down the leg.
                                         7
Saenz reviewed Ochoa’s MRIs ordered by Runnels and determined that “[i]n her

lumbar spine, she had a grade 1 anterolisthesis, which is basically the vertebra [at

one level] is moved just a millimeter [or] two relative to the vertebra below it.”

According to Saenz, this condition “can be caused by trauma[.]” His review of her

cervical MRI revealed herniations and annular tears of the discs. His overall

assessment was that Ochoa “had cervical disc disease and radiculopathy, meaning

she had injury to the disc, causing pain to both the neck and low back and that was

radiating to her arms and legs.” He recommended Ochoa receive an epidural

injection of both her neck and low back. He described the pain Ochoa was

experiencing was “acute, meaning . . . recent[,]” and he believed it was caused by

her car accident in March 2019. Saenz further testified that he was unaware of and

did not evaluate the effects of a prior injury Ms. Ochoa had testified about at trial:

      Q. In this particular case, were you aware that the patient had a prior
      accident?

      A. No.

      Q. Is that something that you ask about and expect the patient to tell
      you about?

      A. We usually expect them to tell us if they had a prior injury or not.

      Q. And --

      A. Is the routine.

      Q. And the patient didn’t disclose any prior injury to you. Correct?

                                           8
      A. Correct.

      Q. Okay. This is from her interrogatory answer, Number 7, “I had a slip
      and fall at a hospital. I injured my back. I got an MRI done, and I
      experienced a herniated disc.” Is that important information for you to
      know?

      A. It would be important to know if we had, yeah, copies or
      comparisons. It wouldn’t change my opinion, though, because my
      opinion is based on my physical and my history. It’s not just based on
      an MRI or -- or anything like that.

Saenz also explained the medical expenses his facility charged and stated that the

charges were reasonable and necessary for Ochoa’s treatment.

      During cross-examination, Saenz testified that he did not see any indication

of degenerative changes, such as arthritis, on Ochoa’s MRI. He explained that it is

not uncommon for a patient to have multilevel herniations from an auto accident.

But he admitted he was unaware of Ochoa’s previous slip and fall accident. He stated

the MRIs from Ochoa’s slip and fall accident would not change his opinion because

his opinion is based on history and a physical examination.

Dr. Omar Vela

      Doctor Omar Vela testified he is a chiropractor and that he works at Patterson

Chiropractic Clinic in Edinburg. Vela described his educational background and

stated that he treated Ochoa for a month, from July to August 2019. He testified that

when Ochoa came to his facility, she complained of “neck pain on both sides,

bilateral neck pain, pain in the bilateral -- bilateral mid back, and lower lumbar pain

                                          9
bilaterally, and also had headaches, described as dull headaches[,]” stemming from

the March 2019 accident. He explained, based on Ochoa’s complaints of continuing

pain, that he had recommended a therapy treatment plan of three visits a week for

three to four weeks, manipulation of her spine to mobilize the joints to prevent scar

tissue, electrical muscle stimulation to help relax her muscles, and heating pads and

massages. He stated that he reviewed her MRIs and noted that she had a “disk

herniation[,]” annular tears, which he opined were “trauma-induced” from a

situation like a car accident. When he released Ochoa from care in August 2019, he

said her condition was “guarded[,]” meaning he was “unsure of [her condition] at

the time[,]” and he recommended that she “follow up with the [] pain management

doctor and be under his supervision.” Vela also testified as to Ochoa’s medical

expenses, and he concluded that the medical expenses were reasonable and

necessary for her treatment.

      During cross-examination, Vela confirmed that             Ochoa’s    “cervical

sprain/strain” would be soft tissue injuries and “could” be termed whiplash in

layman’s terms. According to Vela, Ochoa’s soft tissue injury could take up to six

to eight weeks to heal. Vela stated that annular tears are not caused by aging. Vela

confirmed that Ochoa did not disclose her slip and fall accident to him, noting that

if he had that information, he could have compared the MRIs from the slip and fall




                                         10
case and her car accident. Vela stated that based on Ochoa’s injuries, “[i]t does not

surprise me[]” that Ochoa still complains of pain in her neck.

Dr. Howard Derman

      In a recorded deposition, Doctor Howard Derman testified as a retained expert

for the defense. He stated that he is a board-certified neurologist with forty years of

experience, employed by Methodist Hospital, and that he works with neurology

residents in an indigent clinic in downtown Houston. He described his educational

background and experience, testifying that he has treated “many, many patients

involved in automobile accidents[.]” Derman testified that he had reviewed Ochoa’s

medical records and formulated an opinion based on those records. He described

Ochoa’s medical history after the accident, stating the following about her treatment:

      Sending the patient to the first chiropractor was a reasonable move. I
      had major problems with the number of treatments. Clearly in the
      chiropractic literature, it is recommended that if the patient is not
      showing improvement after 9 to 12 visits, depending on which
      recommendations you believe or follow, that no further treatments
      should be undertaken. So my issue is with the number of treatments,
      which, in this case, far exceeded 12. She had -- if you count both
      together, she had 35. So there was no reason to send her for that many
      visits. So it was okay to send her to the initial treatment plan for up to
      12 visits, but all visits after that were not recommended and should not
      have been pursued.

He stated that the arthritis in Ochoa’s back was a preexisting condition, noting that

Ochoa is a 62-year-old woman, and that the arthritis was found at “five different

levels.” According to Derman, Ochoa’s injuries were unrelated to her accident.

                                          11
      The automobile accidents, if they do cause the trouble in the spine,
      typically are at one site and are related to pinching of a nerve. And when
      you see abnormalities, both in the neck and the back at five different
      levels, there is no doubt that it is unrelated to the automobile accident.
      And when you see narrowing of the canal, slippage of the spine, those
      again are issues that develop over time. So in this case, it’s clear-cut
      that this is unrelated to the automobile accident and is degenerative in
      nature.

      During cross-examination, Derman testified that some of Ochoa’s

anterolisthesis could be caused by a car accident, but stated that “more likely than

not,” it was not caused by the accident when you see it “associated with arthritis

above it and below it[.]” He stated that a person cannot experience herniations in

multiple discs in both the back and neck because of a car accident.

Dr. Brad McKechnie

      Doctor Brad McKechnie testified via recorded deposition for the defense. He

stated he is a Doctor of Chiropractic Medicine and described his education and

professional background, including testimony that he is board certified and has been

practicing for thirty-four years. McKechnie stated that although he did not treat

Ochoa, he reviewed her medical records. According to McKechnie, Runnels

diagnosed Ochoa with conditions that she did not have, and treated her “in a manner

exactly opposite of what [a chiropractor] should have done[]” if Ochoa had the

conditions Runnels diagnosed. Based on his review of Ochoa’s MRIs, he believed

Ochoa has “degenerative disc disease[,]” that preexisted the accident.


                                         12
      The MRIs were done 62 days after the accident, and the cervical MRI,
      if you take the 30,000-foot view of what was there, the MRI findings
      are describing what we consider multilevel cervical degenerative disc
      disease, which would be consistent with the patient’s age of 62 years.

      ...

      That’s the normal wear and tear that happens to a spine. The discs,
      which are the shock absorbers that park themselves between the
      vertebrae, lose their ability to perform as shock absorbers because they
      dry up. And the MRI mentioned the term “disc desiccation,” which
      means that the disc water content is going away. Then the discs
      themselves start to flatten out, they bulge, and bone spurs firm -- form
      around the edges at each segment. And the MRI report did describe
      mild spondylotic changes involving the cervical spine. That means
      bone spurs. And they describe disc desiccation, which is the drying up
      of the disc because of the degenerative process. And then they cited the
      presence of disc issues at C3-4, 4-5, 5-6, and 6-7, which are consistent
      with the degenerative disc disease that’s already there.

Mckechnie testified that any treatment beyond the first six weeks at North Houston

was not “necessary or clinically justifiable[.]” Any treatment past that point did not

create “meaningful clinical benefit” for Ochoa and any changes were “simply a case

of you get far enough downrange from an accident in terms of time passage, you

naturally feel better.” Regarding Dr. Vela, he opined that the treatment was

unnecessary as “simply because they didn’t do, really, anything ostensibly different

than the first chiropractor did, and the first chiropractor’s treatments stopped

working, if you will, after the first two, three weeks of care.” He concluded that

Runnels’s medical billing was necessary for the amount of $2,254, but Vela’s

medical billing was unnecessary and worth “[z]ero dollars.”

                                         13
      At the end of trial, the jury found that both Jaime Flores’s and Eber Flores’s

negligence caused Ochoa’s injuries and awarded Ochoa damages for past physical

pain, mental anguish, physical impairment, and reasonable and necessary medical

expenses.

                                      II. Issue One

      In their first issue, the Floreses contend that the trial court erred by allowing

Ochoa to introduce evidence on causation from Dr. Saenz and chiropractors Runnels

and Vela, because their opinions were not properly disclosed in compliance with

Texas Rule of Civil Procedure 194.2(f)(3). See Tex. R. Civ. P. § 194.2(f)(3).

      We review a trial court’s decision to admit or exclude evidence for an abuse

of discretion. Nat’l Liab. &amp; Fire Ins. Co. v. Allen, 15 S.W.3d 525, 527–28 (Tex.

2000). In determining whether the trial court abused its discretion, we must decide

whether the trial court acted without reference to any guiding principles or rules.

Downer v. Aquamarine Operators, Inc., 701 S.W.2d 238, 241–42 (Tex. 1985). A

trial court does not abuse its discretion if some evidence of substantive and probative

character exists to support the trial court’s decision. Butnaru v. Ford Motor Co., 84

S.W.3d 198, 211 (Tex. 2002); Ayala v. Ayala, 387 S.W.3d 721, 728 (Tex. App.—

Houston [1st Dist.] 2011, no pet.).

      With respect to the discovery of experts, the Rules of Civil Procedure impose

a disclosure obligation on the party that seeks to introduce testimony from expert

                                           14
witnesses. See Tex. R. Civ. P. 194.2(f), 194.3. In pertinent part, Rule 194.2(f)

provides that upon a proper request for disclosure, the responding party is required

to disclose for testifying experts:

      (1) the expert’s name, address, and telephone number;
      (2) the subject matter on which the expert will testify;
      (3) the general substance of the expert’s mental impressions and
      opinions and a brief summary of the basis for them, or if the expert is
      not retained by, employed by, or otherwise subject to the control of the
      responding party, documents reflecting such information;
      (4) if the expert is retained by, employed by, or otherwise subject to the
      control of the responding party:
              (A) all documents, tangible things, reports, models, or data
              compilations that have been provided to, reviewed by, or
              prepared by or for the expert in anticipation of the expert’s
              testimony; and
              (B) the expert’s current resume and bibliography[.]

Tex. R. Civ. P. 194.2(f); see also Tex. R. Civ. P. 194.3.

      Rule 194.2(f) of the Texas Rules of Civil Procedure provides that upon

request, a party may obtain disclosure of the general substance of a testifying

expert’s mental impressions and opinions, as well as all documents and tangible

things that have been provided to or reviewed by the expert in anticipation of the

expert’s testimony. Tex. R. Civ. P. 194.2(f). The purpose of Rule 194.2(f) is to give

the opposing party sufficient information about the expert’s opinions to allow the

opportunity to prepare for a meaningful cross-examination and expert rebuttal

evidence. Pro Plus, Inc. v. Crosstex Energy Servs., L.P., 388 S.W.3d 689, 705 (Tex.

App.—Houston [1st Dist.] 2012), aff’d, 430 S.W.3d 384 (Tex. 2014).

                                         15
      The parties do not dispute that Ochoa’s medical providers were not retained

experts. Therefore, the rules require that Ochoa provide the Floreses with “the

general substance of the expert’s mental impressions and opinions and a brief

summary of the basis for them, or if the expert is not retained by, employed by, or

otherwise subject to the control of the responding party, documents reflecting such

information.” Id. In Plaintiff’s First Supplemental Response to Defendant’s Request

for Disclosures she identifies Dr. Saenz, Dr. Runnels and Dr. Vela and states that

each “is the attending physician of Plaintiff and is expected to testify as to the

reasonableness and necessity of medical care and medical bills in addition to

causation of Plaintiff’s damages.”

      During the pretrial hearing, the Floreses’ counsel informed the court he was

going to raise Rule 194 disclosure objections to Ochoa’s experts, eventually leading

to the following colloquy:

      THE COURT: What about Dr. Saenz? Is he a retained expert?
      [OCHOA’S COUNSEL]: He’s a treating physician, Your Honor.
      THE COURT: But he’s giving opinions on the billing, I thought.
      [FLORESES’ COUNSEL]: And causation.
      THE COURT: So that’s different than...
      [OCHOA’S COUNSEL]: Your Honor --
      THE COURT: Well, causation of the injuries. I mean, that’s --
      [OCHOA’S COUNSEL]: These are -- all of his opinions are contained
      in the medical records, Your Honor, and so to – there’s nothing outside
      of the medical records that he’s going to offer.
      [FLORESES’ COUNSEL]: Okay. That means he’s not going to offer
      any testimony regarding causation.
      [OCHOA’S COUNSEL]: He offered -- that -- that’s in the medical
      records.
                                        16
      [FLORESES’ COUNSEL]: No.
      [OCHOA’S COUNSEL]: That’s part of his treatment, as part of his --
      THE COURT: What’s in the -- what particularly are in the medical
      records?
      [OCHOA’S COUNSEL]: The statements about causation and his
      probable testimony about causation. (Emphasis added).

The trial court indicated the objection was overruled at the time but that the Floreses’

counsel would be allowed to voir dire Dr. Saenz prior to his testifying to ensure

everything was properly disclosed. During the trial, and after concluding his voir

dire examination of Dr. Saenz, the Floreses’ counsel renewed his objections:

      [Appellants’ counsel]: My objections are still the same. The -- the
      plaintiffs didn’t solicit the opinions from this expert until last Friday.
      Clearly that means -- and they haven’t disclosed any of those -- those
      opinions to me, and so clearly that’s a Rule 194 violation. These experts
      should have provided -- the expert should have provided the opinion
      prior to trial, the basis of the opinions, whatever he reviewed and relied
      upon in formulating those opinions.

Upon questioning by the court, the Floreses’ counsel conceded that he had been

provided copies of the documents upon which Dr. Saenz relied in forming his

opinions: the chiropractor’s referral, Dr. Saenz’s medical records regarding Ochoa,

and the MRIs. The trial court overruled the objection and allowed Dr. Saenz to testify

regarding his opinion on causation.

      On appeal, the Floreses complain that the trial court allowed Dr. Saenz, Dr.

Runnels and Dr. Vela to testify that Ochoa’s medical conditions were caused by the

accident despite Ochoa’s alleged failure to disclose their opinions in compliance

with Rule 194.2(f)(3). In response, Ochoa asserts, just as she did during trial, that
                                          17
her medical records were produced, “and the medical records reflected the providers’

assessments of Ochoa, the cause of her injuries, and the treatments necessary to

address such injuries.”

      Ochoa also asserts that by failing to object during trial, the Floreses failed to

preserve their arguments with respect to Dr. Runnels’s and Dr. Vela’s testimony

regarding causation. We agree. See Duff v. Spearman, 322 S.W.3d 869, 878 (Tex.

App.—Beaumont 2010, pet. denied) (“By failing to lodge objections when these

witnesses testified, the appellants failed to preserve their complaints concerning the

admission of testimony[.]”); see also Tex. R. App. P. 33.1. Although the Floreses

objected to Dr. Saenz’s testifying about causation, the record does not reveal any

such objections to Dr. Runnels’s or Dr. Vela’s testimony. Therefore, the Floreses

first issue is overruled with respect to Dr. Runnels and Dr. Vela.

      We now examine Appellee’s argument that the trial court abused its discretion

in overruling the objection under Rule 194 and allowing Dr. Saenz to testify on

causation. Dr. Saenz was not asked, on voir dire or otherwise, whether any of his

opinions about causation were contained in his medical records. It is unclear in the

record before us if Dr. Saenz had a copy of the medical records from the other

medical providers or whether he relied upon those records. Ochoa does not cite any

entries in Dr. Saenz’s records to support her position that his records contain

causation opinions, and the Floreses do not address the actual substance of Saenz’s

                                         18
records or whether any entries from the other medical records could be construed as

providing the substance of an opinion regarding causation.

      That said, we need not determine whether the trial court abused its discretion

in overruling the Rule 194 objection and allowing Dr. Saenz to testify about

causation because, even assuming without deciding the trial court erred, we conclude

any error in the admission of Dr. Saenz’s testimony regarding causation was

harmless. We “cannot reverse a trial court’s judgment based on the erroneous

admission of evidence unless the error ‘probably caused the rendition of an improper

judgment.’” Jackson v. Takara, 675 S.W.3d 1, 6-7 (Tex. 2023) (quoting Tex. R.

App. P. 44.1(a)(1)). “The complaining party must ‘demonstrate that the judgment

turns on the particular evidence admitted.’ By contrast, the erroneous admission of

cumulative evidence or evidence that does not control a material and dispositive

issue is generally harmless and thus does not require reversal of the trial court’s

judgment.” Id. (quoting Nissan Motor Co. v. Armstrong, 145 S.W.3d 131, 144 (Tex.

2004)). Here, Dr. Saenz’s causation testimony was cumulative of the causation

opinions expressed by Dr. Runnels and Dr. Vela both of whom testified, without

objection, that Ochoa’s conditions were caused by the March 8, 2019, accident. We

overrule the Floreses’ first issue.




                                        19
                                   III. Issue Two

      In their second issue, the Floreses challenge the sufficiency of the evidence to

support the award of Ochoa’s past medical expenses. Specifically, they argue that

Ochoa did not meet her burden of proof to prove a causal link between the accident,

her claimed medical injuries, and medical treatment.

      The Floreses raise legal sufficiency complaints.3 Evidence is legally sufficient

if it “would enable reasonable and fair-minded people to reach the verdict under

review.” City of Keller v. Wilson, 168 S.W.3d 802, 827 (Tex. 2005). In evaluating

whether the evidence in a case is legally sufficient to support a verdict, “we credit

evidence that supports the verdict if reasonable jurors could, and disregard contrary

evidence unless reasonable jurors could not.” Kroger Tex. Ltd. P’ship v. Suberu, 216

S.W.3d 788, 793 (Tex. 2006) (citing City of Keller, 168 S.W.3d at 827); Am.

Interstate Ins. Co. v. Hinson, 172 S.W.3d 108, 114 (Tex. App.—Beaumont 2005,

pet. denied). A defendant may prevail on a legal sufficiency challenge if the record

of the trial shows either: (1) a complete absence of evidence of a vital fact; (2) some

rule of law or the rules of evidence bar the court from giving weight to the only

evidence offered to prove a vital fact; (3) the evidence admitted to the factfinder to

prove a vital fact amounts to no more than a mere scintilla to support the verdict; or


      3
        We note that while Appellants reference both legal and factual sufficiency
in their brief, their analysis only addresses legal sufficiency. Therefore, we will
address only the legal sufficiency question.
                                         20
(4) the evidence conclusively establishes the opposite of the fact the factfinder found

based on the evidence admitted at trial. City of Keller, 168 S.W.3d at 810 (quoting

Robert W. Calvert, “No Evidence” &amp; “Insufficient Evidence” Points of Error, 38

Tex. L. Rev. 361, 362–63 (1960)).

Past Medical Expenses

      In challenging the trial court’s award of damages for Ochoa’s past medical

expenses, the Floreses argue that Ochoa offered no medical testimony establishing

that the charges for medical treatment Ochoa received for her injuries were directly

caused by the acts or omissions of the Floreses. Appellants argue in the alternative

that even if Saenz, Runnels and Vela’s testimony was not admitted in error, “the

evidence was legally insufficient to support the trial court’s judgment.”

      The Supreme Court of Texas noted in Guevara v. Ferrer that “[i]n personal

injury cases, trial evidence generally includes evidence of the pre-occurrence

condition of the injured person, circumstances surrounding the occurrence, and the

course of the injured person’s physical condition and progress after the occurrence.”

247 S.W.3d 662, 666–67 (Tex. 2007). The Court explained that lay testimony about

a pre-accident condition or other events leading up to the accident, the accident, the

police officer’s accident report, and medical treatments after the accident may be

evidence that establishes a sequence of events proving a strong, logically traceable

connection between the accident and the injury. See id. at 667. That kind of evidence

                                          21
may be sufficient to support causation findings between the accident and the injuries

which “(1) are within the common knowledge and experience of laypersons, (2) did

not exist before the accident, (3) appeared after and close in time to the accident, and

(4) are within the common knowledge and experience of laypersons, caused by

automobile accidents.” Id. In Guevara, the evidence was insufficient to provide a

causal link. Id. at 669 (“Nor do the few medical records for admission and

consultation by physicians several months after the accident provide the causal

link.”). The Court noted that the histories were neither consistent with each other nor

with the testimony as to the pre-accident condition. Id. at 669, n.4. Conditions

beyond the general knowledge and experience of jurors require expert testimony to

demonstrate a causal link between the accident and the claimed condition. Lara v.

Bui, No. 01-21-00484-CV, 2023 Tex. App. LEXIS 1269, **17-18 (Tex. App.—

Houston [1st Dist.] 2023, pet. denied) (mem. op.). In Lara, our sister court explained

the following regarding the sufficiency of expert testimony to establish causation.

      To constitute competent evidence of causation, a medical expert’s
      opinion must rest in reasonable medical probability. This rule applies
      whether the opinion is expressed in testimony or in a medical record,
      as the need to avoid opinions based on speculation and conjecture is
      identical in both situations. [The doctor’s] opinion is not competent
      evidence of causation because her opinion is conclusory. An expert’s
      bare proclamation that this one event caused another is not enough to
      establish causation; the expert must go further and explain, to a
      reasonable degree, how and why the breach caused the injury based on
      the facts presented. [The doctor’s] note does not provide the necessary
      link between [the Plaintiff’s] diagnosed injuries and the motor vehicle

                                          22
      accident. Absent this link, the note is unreliable speculation, which does
      not constitute legally sufficient evidence to support the jury’s verdict.

Id. (internal quotations and citations omitted) (explaining a note that stated “Due to

clinical exams and diagnostic studies, it is my personal opinioned [sic] that [the

Plaintiff’s] injuries was the direct cause of the accident sustained on 9/2/2016[]” was

not enough to establish a causal connection of the injuries from the accident).

      “An expert may base an opinion on facts or data in the case that the expert has

been made aware of, reviewed, or personally observed.” Tex. R. Evid. 703. “When

an expert’s opinion is predicated on a particular set of facts, those facts need not be

undisputed.” Caffe Ribs, Inc. v. State, 487 S.W.3d 137, 144 (Tex. 2016). “An

expert’s opinion is only unreliable if it is contrary to actual, undisputed facts.” Id.
“‘The weakness of facts in support of an expert’s opinion generally go to the weight

of the testimony rather than its admissibility.’” In re Fire Alarm Servs., Inc., No. 04-

22-00160-CV, 2022 WL 2820936, at *3 (Tex. App.—San Antonio July 20, 2022,

orig. proceeding) (mem. op.).

      The presence of a medical condition before an accident may complicate a

causation connection and require expert evidence to support causation. See Guevara,

247 S.W.3d at 669 (“Those histories do not purport to be diagnoses of Arturo’s

previously treated conditions nor to relate his conditions prior to the accident.”);

Burroughs Wellcome Co. v. Crye, 907 S.W.2d 497, 500 (Tex. 1995). That a plaintiff

has a preexisting condition, however, does not absolve the defendant of
                                          23
responsibility for an aggravation of the preexisting condition caused by the accident.

See Coates v. Whittington, 758 S.W.2d 749, 752 (Tex.1988) (orig. proceeding) (“[A]

tortfeasor takes a plaintiff as he finds him.”). And expert evidence may take the form

of expert diagnoses based on reasonable probability contained in properly admitted

medical and hospital records. See Crye, 907 S.W.2d at 500; see also In re Wheeler,

No. 09-22-00251-CV, 2022 WL 3908531, at *1 (Tex. App—Beaumont Aug. 31,

2022, no pet.) (mem. op.) (“[Plaintiff’s] failure to inform his doctors that he was

treated for prior back pain or prior injuries is something that the defendant can cross-

examine the doctors about and is a factor for the finder of fact to consider when

determining the weight to give the doctors’ opinions, but it does not necessarily

mean the opinions are unreliable and inadmissible under Rule 702.”).

      The jury here had medical testimony from multiple witnesses and testimony

from Ochoa, and the jury also had a copy of Ochoa’s post-accident medical records.

The medical records and Ochoa’s testimony provide some information about her

pre-accident and post-accident condition. See, e.g., Figueroa v. Davis, 318 S.W.3d

53, 60–61 (Tex. App.—Houston [1st Dist.] 2010, no pet.). Ochoa’s medical

providers testified about the causation of her injuries.

      Saenz opined that the accident caused Ochoa’s injuries.

      Q. Okay. Do you have an opinion as to what that event was that caused
      her pain?


                                          24
A. Well, in my opinion, it was caused by her injury on March 8th of
2019.

Q. And when you say “injury,” you mean the car accident on March
8th, 2019?

A. That’s correct.

Q. And how did you arrive at that opinion?

A. That was based on the history and physical, that was based on the
exam, that was based on imaging findings, and kind of putting
everything collectively together.

[…]

Q. Doctor, to determine whether or not the March 8 accident caused the
herniation or the slip and fall, you would need to compare the MRI from
the slip and fall with the MRIs from the auto accident; wouldn’t you?

A. No, not necessarily. Again, it’s based on history and physical. Even
if you had a prior herniation, if it wasn’t active, it wasn’t hurting, and
all of a sudden she had another accident, so it’s either -- if there was
something there before which I hadn’t seen, but she had another injury
to it. Then she either exacerbated or made it worse if there was
something there previously. So --

Q. You would need -- go ahead. I’m sorry.

A. Well, if -- even if there was an MRI report previously, it might help
you but it wouldn’t change my opinion, just based on an MRI. Again,
my opinion is based more -- it’s more on my history and my physical.
The MRI just helps me a little bit.

Q. Okay. So based on the methodology that you’re using, the MRI
comparison between the slip and fall accident and the auto accident
wouldn’t change your opinions.

A. It would not change my opinion, no.

                                   25
Runnels testified to the following.

      Q. Was it your opinion that the March 8, 2019, collision caused the --
      the pain complaints that Ms. Ochoa had?

      A. That’s -- that’s my opinion, yes, that her injuries are consistent with
      people that have had -- our other patients that we’ve, again, treated over
      the last so many years, it’s consistent with people that have been in a
      similar collision to what she described.

Vela stated the following regarding causation.

      Q. Did you also form an opinion as to the cause of her injuries that --
      that she was complaining about?

      A. Yes. I thought it was directly related to the accident on March 8th of
      2019.

      […]

      Q. Okay. What’s the basis of your opinion that the March 8th, ‘19, auto
      accident caused her injuries?

      A. Well, one is, you know, she had an auto accident, and I’ve been
      doing this for 20 years. So I’ve seen cervical sprain/strains and injuries
      like this all the time. Two is she told me what happened, that she had
      an auto accident, and she didn’t have any pain before that.

      […]

      Q. And that’s your basis that the accident caused her injuries. Correct?

      A. No. My basis is done on my history and my examination.

      Q. Okay. And your history was what?

      A. That she had a car accident, that -- that she was injured during the
      car accident, that she has neck pain, back pain, and then she had the
      MRIs to prove that there was significant damage done.

                                         26
      Q. Were you aware that she had a prior incident?

      A. No. No, I was not.

      Finally, the jury heard testimony from Ochoa regarding the accident, her

history, injuries, and activity level before and after the accident. The jury’s implied

finding that the evidence provided a causal link between the accident and the

stipulated amount for post-accident medical treatment until the time of trial is not so

against the great weight and preponderance of the evidence to be clearly wrong and

unjust. See Ortiz v. Jones, 917 S.W.2d 770, 772 (Tex. 1996); see also Guevara, 247

S.W.3d at 666–67.4 We overrule the Floreses second issue.

                                   IV. Issue Three

      In their final issue, the Floreses challenge the trial courts award of costs,

arguing “[o]nly taxable court costs can be awarded as costs in a Judgment; Plaintiff’s

litigation expenses are not recoverable court costs.” Appellant contends that court

costs means “the clerk’s bill of costs” including clerk’s fees, service fees and court

reporter fees, not a party’s litigation expenses.

      Ochoa claims this issue was not preserved for appellate review because

Appellants did not lodge any objections to the proposed judgment and did not raise

the issue in their motion for new trial. “Failure to file a motion to modify or retax


      4
       We note that Ochoa was awarded $10,000 in Past Mental Anguish and
$45,000 in Past Physical Impairment. The Floreses do not challenge those awards
on appeal.
                                      27
costs results in a waiver of the right to complain on appeal.” PM Holdings, LLC v.

Song, No. 14-15-00933-CV, 2017 Tex. App. LEXIS 1668, at *16 (Tex. App.—

Houston [14th Dist.] Feb. 28, 2017, no pet.) (mem. op.) (citing Jackson v.

LongAgriBusiness, L.L.C., 2013 Tex. App. LEXIS 113, *6 (Tex. App.—Houston

[14th Dist.] 2013, no pet.) (mem. op.), and Wright v. Pino, 163 S.W.3d 259, 261-62

(Tex. App.—Fort Worth 2005, no pet.). However, the record reflects that Appellants

filed a post-trial motion on October 5, 2021, styled as Defendants’ Motion to Vacate

Final Judgment, Motion to Modify Judgment, and Motion for New Trial. Therein,

the defendants specifically complained of the inclusion of non-taxable costs in the

judgment and asked the trial court to modify the judgment so as to include only those

costs included in the clerk’s bill of costs. The trial court denied the motion, thereby

preserving the issue for appellate review. Tex. R. App. P. 33.1(a).

      Texas Rules of Civil Procedure 149 and 622 require the clerk, not the court,

to prepare an itemized bill of costs upon request. “[T]he taxing of these costs is a

ministerial duty of the clerk, who fulfills that duty by filing a bill of costs in the

record.” Waste Mgmt. of Tex., Inc. v. Tex. Disposal Sys. Landfill, Inc., No. 03-10-

00826-CV, 2014 Tex. App. LEXIS 12391, *11 (Tex. App.—Austin, Nov. 14, 2014,

no pet.) (mem. op.). See also, Lion Copolymer Holdings, LLC v. Lion Polymers,

LLC, No. 01-17-00671-CV, 2019 Tex. App. LEXIS 2222, at *48 (Tex. App.—

Houston [1st Dist.] Mar. 21, 2019, no pet.) (mem. op.). “In response to a request for

                                          28
an award of costs, the court’s role is to determine which party or parties is to bear

the costs of court, not to adjudicate the correctness of specific items.” Pitts v. Dallas

Cnty. Bail Bond Bd., 23 S.W.3d 407, 417 (Tex. App.—Amarillo 2000, pet. den’d);

see also, Williams v. Colthurst, 253 S.W.3d 353, 362-63 (Tex. App.—Eastland 2008,

no pet.).

      “Texas Civil Practice and Remedies Code section 31.007(a) requires the

successful party to submit a record of its court costs to the court clerk so that the

clerk can perform its ministerial duty and tax costs in accord with Texas Rule of

Civil Procedure 622.” Madison v. Williamson, 241 S.W.3d 145, 158 (Tex. App.—

Houston [1st Dist.] 2007, pet. den’d). “The trial court should state in its judgment

which party is to pay costs. The judgment should not state the amount taxed as costs,

but only that costs are awarded against a certain party. Taxing costs, as distinguished

from adjudicating those costs, is merely a ministerial duty of the clerk.” Id. (citations

omitted). See also, Reaugh v. McCollum Expl. Co., 167 S.W.2d 727, 728 (Tex. 1943)

(holding the taxing of costs is the ministerial act of the clerk, not an adjudication by

the court as to specific items).

      “Generally, in Texas, expenses incurred in prosecuting or defending a lawsuit

are not recoverable as costs, unless permitted by a statute or equitable principle.”

Sterling Bank v. Willard M, L.L.C., 221 S.W.3d 121, 125 (Tex. App.—Houston [1st

Dist.] 2006, no pet.). Texas Civil Practice and Remedies Code § 31.007(b) states:

                                           29
      “A judge of any court may include in any order or judgment all costs,
      including the following:

             (1) fees of the clerk and service fees due the county;

             (2) fees of the court reporter for the original of stenographic
             transcripts necessarily obtained for use in the suit;

             (3) masters, interpreters, and guardians ad litem appointed
             pursuant to these rules and state statutes; and

             (4) such other costs and fees as may be permitted by these rules
             and state statutes.”

Tex. Civ. Prac. &amp; Rem. Code Ann. § 31.007(b).

      Texas Rules of Civil Procedure 131 provides, “The successful party to a suit

shall recover of his adversary all costs incurred therein, except where otherwise

provided.” Tex. R. Civ. P. 131. Rule 141 provides, “The court may, for good cause,

to be stated on the record, adjudge the costs otherwise than as provided by law or

these rules.” Tex. R. Civ. P. 141.

      While Rule 141 has been interpreted to mean that a trial court may adjudge

costs against a party other than the prevailing party, if it has good cause to do so, the

power to allocate costs does not encompass the power to tax as costs items that are

not allowed as taxable court costs. See Premcor Pipeline Co. v. Wingate, No. 09-22-

00117-CV, 2024 Tex. App. LEXIS 2529 at **46-47, 2024 WL 1565334 (Tex.

App.—Beaumont Apr. 11, 2024, no pet.) (mem. op.); Gumpert v. ABF Freight Sys.

Inc., 312 S.W.3d 237, 242 (Tex. App.—Dallas 2010, no pet.) (the power to allocate

                                           30
costs does not encompass the power to tax as costs items that are not allowed as

taxable court costs); May v. Ticor Title Ins., 422 S.W.3d 93, 106 (Tex. App.—

Houston [14th Dist.] 2014, no pet.) (“[T]he power to allocate costs does not

encompass the power to tax as costs items that are not allowed as taxable court

costs.”); Bundren v. Holly Oaks Townhomes Ass’n, Inc., 347 S.W.3d 421, 440 (Tex.

App.—Dallas 2011, pet. denied) (generally, in Texas, expert fees are not recoverable

as court costs).

      After trial, Ochoa submitted a Motion for Entry of Judgment, seeking an

award of $14,277.74 in “taxable court expenses.” Ochoa attached exhibits to her

Motion for Entry of Judgment to support her calculation of taxable costs including

a list of “Client Expenses,” and copies of invoices, statements, and receipts.

Assuming without deciding Ochoa’s list of “Client Expenses” were supported by

proper documentation, it was error for the court to include litigation expenses--such

as “handling expense,” copies of records, and expert witness fees for deposition or

court appearances, or other items ordinarily not allowed as taxable court costs--in its

award of taxable costs. Moreover, as stated above, the judgment should not have

included a dollar amount for taxable costs, since it was the trial court’s role only to

tax costs in Ochoa’s favor, and it was the clerk’s ministerial role to prepare a bill of

costs including only those items authorized by Texas Civil Practice and Remedies




                                          31
Code § 37.001. We sustain Appellants’ third issue and remand this issue to the trial

court.

                                     V. Conclusion

         We overrule Appellants’ first two issues and affirm the trial court’s judgment

in part, but we sustain the Appellants’ third issue regarding the amount of taxable

court costs and reverse and remand the matter to the trial court to revise the judgment

consistent with this opinion.

         AFFRIMED IN PART; REVERSED AND REMANDED IN PART.



                                                        JAY WRIGHT
                                                           Justice

Submitted on August 17, 2023
Opinion Delivered August 8, 2024

Before Johnson, Wright and Chambers, JJ.




                                           32
